                             EXHIBIT 2
Case 4:21-cv-00492-O Document 68-2 Filed 05/26/21   Page 1 of 6 PageID 8568




                                                                              4
                             EXHIBIT 2
Case 4:21-cv-00492-O Document 68-2 Filed 05/26/21   Page 2 of 6 PageID 8569




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                             EXHIBIT 2
Case 4:21-cv-00492-O Document 68-2 Filed 05/26/21   Page 3 of 6 PageID 8570




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                             EXHIBIT 2
Case 4:21-cv-00492-O Document 68-2 Filed 05/26/21   Page 4 of 6 PageID 8571




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                             EXHIBIT 2
Case 4:21-cv-00492-O Document 68-2 Filed 05/26/21   Page 5 of 6 PageID 8572




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                             EXHIBIT 2
Case 4:21-cv-00492-O Document 68-2 Filed 05/26/21   Page 6 of 6 PageID 8573




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